                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                             3:18-cv-630-RJC

ACE MOTOR ACCEPTANCE                 )
CORPORATION,                         )
                                     )
            Plaintiff,               )
                                     )
      v.                             )                        ORDER
                                     )
                                     )
McCOY MOTORS, LLC et al.,            )
                                     )
            Defendants.              )
____________________________________ )


        THIS MATTER comes before the Court sua sponte. At the time this Court

withdrew reference of Adversary Proceeding No. 18-03036 from the U.S.

Bankruptcy Court of the Western District of North Carolina, certain motions

remained pending before the Bankruptcy Court. One of these motions was

Plaintiff’s Motion for an Order Appointing Receiver for McCoy Motors, LLC and

Flash Autos LLC, (Doc. No. 107 on the Bankruptcy Court docket). Pursuant to

Local Rule 7.1(g), the Court now orders Plaintiff to file a proposed order appointing

a receiver for McCoy Motors, LLC and Flash Autos LLC on or before February 15,

2019.

        SO ORDERED.

                                   Signed: February 8, 2019




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